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14                           IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEVADA
15

16    Cung Le, Nathan Quarry, and Jon Fitch, Brandon          Case No.: 2:15-cv-01045-RFB-(PAL)
      Vera, Luis Javier Vazquez, and Kyle Kingsbury,
17    on behalf of themselves and all others similarly        INDEX OF EXHIBITS TO DECLARATION
      situated,                                               OF ERIC L. CRAMER, ESQ.
18
                            Plaintiffs,
19
             v.
20
      Zuffa, LLC, d/b/a Ultimate Fighting
21    Championship and UFC,

22                          Defendant.

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                                                                                Case No.: 2:15-cv-01045-RFB-(PAL)
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 1          Pursuant to Local Civil Rule IA 10-3(d), Plaintiffs submit this Index of Exhibits to the

 2   Declaration of Eric L. Cramer, Esq.

 3    Exhibit Number      Description
            49            Supplemental Expert Report of Hal J. Singer, Ph.D. (April 3, 2018)
 4          50            Deposition of Joseph Silva (June 7, 2017) (excerpted)
 5          51            Deposition of Andrew Zimbalist, Ph.D. (September 25, 2017) (excerpted)
            52            Deposition of Hal J. Singer, Ph.D. (September 27, 2017) (excerpted)
 6          53            Rule 30(b)(6) Deposition of Robert Arum (October 17, 2017) (excerpted)
            54            Deposition of Elizabeth Kroger Davis (November 28, 2017) (excerpted)
 7          55            Deposition of Paul Oyer (November 29, 2017) (excerpted)
 8          56            Deposition of Robert H. Topel (December 5, 2017) (excerpted)
            57            Deposition of Robert H. Topel (December 6, 2017) (excerpted)
 9          58            Deposition of Roger D. Blair, Ph.D. (December 8, 2017) (excerpted)
            59            Deposition of Roger D. Blair, Ph.D. (December 9, 2017) (excerpted)
10
            60            Deposition of Hal J. Singer, Ph.D. (January 23, 2018) (excerpted)
11          61            Deposition of Alan Manning (February 8, 2018) (excerpted)
            62            ZFL-0557588 (excerpted)
12          63            ZFL-1055607 (excerpted)
            64            ZFL-1070290 (excerpted)
13
            65            ZFL-1081154
14          66            ZFL-1425511
            67            ZFL-1872579
15          68            ZFL-2279086 (excerpted)
            69            ZFL-2497585
16
            70            ZFL-2536695
17          71            WME_ZUFFA_00005368 (excerpted)
            72            Gerald W. Scully, Pay and Performance in Major League Baseball, 64(6)
18                        THE AMERICAN ECONOMIC REVIEW 915-930 (1974)
             73           Gerald W. Scully, Player Salary Share and the Distribution of Player
19
                          Earnings, 25(2) MANAGERIAL AND DECISION ECONOMICS 77-86 (2004)
20           74           John Twomey & James Monks, Monopsony and Salary Suppression: The
                          Case of Major League Soccer in the United States, 56(1) THE AMERICAN
21                        ECONOMIST 20-28 (2011)
             75           James Monks, Revenue Shares and Monopolistic Behavior in
22                        Intercollegiate Athletics (Cornell Higher Education Research Institute
23                        Working Paper 155, September 2013), available at
                          https://www.ilr.cornell.edu/sites/ilr.cornell.edu/files/WP155.pdf
24           76           Richard McGowan and John Mahon, Demand for the Ultimate Fighting
                          Championship: An Econometric Analysis of PPV Buy Rates, 6(6) J. BUS. &
25                        ECON. 1032-1056 (2015)
26           77           Simcha Barkai, Declining Labor and Capital Shares (U. of Chicago, New
                          Working Paper Series No. 2, 2016), available at
27                        https://research.chicagobooth.edu/~/media/5872fbeb104245909b8f0ae8a8
                          4486c9.pdf
28


                                                         1                      Case No.: 2:15-cv-01045-RFB-(PAL)
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 1   Exhibit Number   Description
            78        Kevin Murphy and Robert Topel, The Economics of NFL Team Ownership
 2                    (Chicago Partners, 2009)
 3         79         JEFFREY WOOLDRIDGE, INTRODUCTORY ECONOMETRICS: A MODERN
                      APPROACH (Thompson 4th ed. 2009) (excerpted)
 4         80         Moody’s Investors Service, “Announcement: Moody’s Changed Zuffa
                      LLC's (d/b/a Ultimate Fighting Championship or UFC) Rating Outlook to
 5                    Positive from Stable,” (December 1, 2010), available at
                      https://www.moodys.com/research/Moodys-Changed-Zuffa-LLCs-dba-
 6
                      Ultimate-Fighting-Championship-or-UFC--PR_210184
 7         81         Dusty Christensen, One of ‘baseball’s great researchers’: Smith professor
                      fields lifetime achievement award, DAILY HAMPSHIRE GAZETTE (Mar. 8,
 8                    2018), available at http://www.gazettenet.com/smith-college-economist-
                      wins-baseball-research-award-16052832
 9
           82         Golden Boy Promotions LLC v. Alan Haymon, 2:15-cv-03378-JFW-MRW,
10                    ECF No. 322-14 (C.D. Cal. January 6, 2017) (“Deetz Report”)
           83         Mar. 2, 2018 email exchange between Roger D. Blair and Andrew
11                    Zimbalist
           84         ZUF-00113209
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           85         ZFL-1484034-37
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 1   Dated: April 6, 2018                         Respectfully Submitted,

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